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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION
                                 LONDON

CRIMINAL ACTION NO. 6:17-CR-53-GFVT-HAI

UNITED STATES OF AMERICA                                                    PLAINTIFF

V.                             MOTION TO STRIKE

WERNER GRENTZ                                                              DEFENDANT

                                     * * * * *

      The United States moves that R. 26-2 and R. 26-3 be struck from the record

because they were incompletely redacted.

      The United States will refile properly redacted versions of R. 26-2 and R. 26-3.


                                                 Respectfully submitted,

                                                 ROBERT M. DUNCAN, JR.
                                                 UNITED STATES ATTORNEY

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                            CERTIFICATE OF SERVICE

      On January 24, 2018, I electronically filed this document through the ECF system.

                                                 s/ Neeraj Gupta
                                                 Assistant United States Attorney
